               Case 21-10023-JTD   Doc 329-2   Filed 09/02/21   Page 1 of 20




                                      EXHIBIT A

                                    Proposed Order




DOCS_LA:339636.4 92203/001
               Case 21-10023-JTD          Doc 329-2     Filed 09/02/21      Page 2 of 20




                         IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF DELAWARE


In re:                                                ) Chapter 11
                                                      )
WARDMAN HOTEL OWNER, L.L.C., 1                        ) Case No.: 21-10023 (JTD)
                                                      )
                                Debtor.               )
                                                      )

              ORDER SUSTAINING THE DEBTOR’S FIRST (SUBSTANTIVE)
               OMNIBUS OBJECTION TO DISALLOW CERTAIN CLAIMS

         Upon the Debtor’s First (Substantive) Omnibus Objection to Disallow Certain Claims,

dated September 2, 2021 (the “Objection”),2 of Wardman Hotel Owner, L.L.C. in the above-

captioned chapter 11 case (the “Debtor”), pursuant to section 502 of title 11 of the United States

Code (the “Bankruptcy Code”), Rule 3007 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and Rule 3007-1 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

for entry of an order disallowing certain proofs of claim, all as more fully set forth in the Objection;

and upon consideration of the Decker Declaration; and this Court having jurisdiction to consider

the Objection and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware dated February 29, 2012; and consideration of the Objection and the requested relief

being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court


1
    The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing
    address is 5996 Mitchell Road, #16, Atlanta, GA 30328.
2
    Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such terms
    in the Objection.




DOCS_LA:339636.4 92203/001
               Case 21-10023-JTD        Doc 329-2     Filed 09/02/21      Page 3 of 20




pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Objection having been

provided to the parties listed therein, and it appearing that no other or further notice need be

provided; and this Court having reviewed the Objection; and this Court having determined that the

legal and factual bases set forth in the Objection establish just cause for the relief granted herein;

and it appearing that the relief requested in the Objection is in the best interests of the Debtor’s

estate, creditors, and all parties in interest; and upon all of the proceedings had before the Court

and after due deliberation and sufficient cause appearing therefor,

                 IT IS HEREBY ORDERED THAT:

        1.       The Objection is granted as provided herein.

        2.       Pursuant to section 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and Local

Rule 3007-1, each Disallowed Claim listed on Schedules 1 and 2 attached hereto is hereby

disallowed and expunged.

        3.       Should one or more of the grounds of objection stated in the Objection be

dismissed, the Debtor’s rights to object on any other grounds that the Debtor discovers during the

pendency of this chapter 11 case is preserved.

        4.       The Debtor’s right to amend, modify, or supplement the Objection, to file additional

objections to any other claims (filed or not) which may be asserted are preserved.

        5.       Each of the claims and the objections by the Debtor to such claims, as set forth on

Schedules 1 and 2 hereto, constitutes a separate contested matter as contemplated by Bankruptcy

Rule 9014 and Local Rule 3007-1. This Order shall be deemed a separate Order with respect to

each such claim. Any stay of this Order pending appeal by any claimants whose claims are subject




                                                  2
DOCS_LA:339636.4 92203/001
               Case 21-10023-JTD         Doc 329-2     Filed 09/02/21     Page 4 of 20




to this Order shall only apply to the contested matter which involves such claimant and shall not

act to stay the applicability and/or finality of this Order with respect to the other contested matters

listed in the Objection or this Order.

        6.       The Clerk of this Court is authorized to take all steps necessary or appropriate to

carry out this Order.

        7.       This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.




                                                  3
DOCS_LA:339636.4 92203/001
Case 21-10023-JTD     Doc 329-2   Filed 09/02/21   Page 5 of 20




                        SCHEDULE 1

                    Hotel Operations Claims




                              1
                                    Claim
Name of Claimant        Claim No.               Reason for Disallowance
                                    Amount


                                                Claim seeking payment for HVAC repair and equipment provided to Hotel
                                                Mar. 2020. The Debtor entered into no agreement (whether written or oral)
                                                with claimant for the services provided to support hotel operations.
                                                Marriott’s operation of the Hotel was conducted pursuant to the Hotel
                                                Management Agreement, independently and not as an agent for, or
Boland Trane Services      20       167192.00
                                                representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                                                                                                 Case 21-10023-JTD




                                                despite the termination of Marriott as manager of the Hotel and the filing of
                                                the Chapter 11 Case. The claim should be disallowed as against the
                                                Debtor.
                                                Claim seeks payment for repairs to hotel boiler performed in Dec. 2020.
                                                                                                                                 Doc 329-2




                                                The Debtor entered into no agreement (whether written or oral) with
                                                claimant for the services provided to support hotel operations. Marriott’s
                                                operation of the Hotel was conducted pursuant to the Hotel Management
Capitol Boiler Works,
                           44       1006.50     Agreement, independently and not as an agent for, or representative of, the
Inc.
                                                Debtor. Thus, the claim, to the extent it is valid, enforceable and unpaid, is
                                                solely an obligation of Marriott, and remains so despite the termination of
                                                Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                                                                                                                 Filed 09/02/21




                                                The claim should be disallowed as against the Debtor.
                                                Claim seeks payment for services provided to hotel, Mar. Apr. 2020. The
                                                Debtor entered into no agreement (whether written or oral) with claimant
                                                for the services provided to support hotel operations. Marriott’s operation
                                                of the Hotel was conducted pursuant to the Hotel Management Agreement,
                                                                                                                                 Page 6 of 20




Cintas                     30       8850.89     independently and not as an agent for, or representative of, the Debtor.
                                                Thus, the claim, to the extent it is valid, enforceable and unpaid, is solely
                                                an obligation of Marriott, and remains so despite the termination of
                                                Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                                The claim should be disallowed as against the Debtor.


                                                        1
                                  Claim
Name of Claimant      Claim No.              Reason for Disallowance
                                  Amount
                                             Claims seeks payment for services provided to hotel, Mar. 2020. The
                                             Debtor entered into no agreement (whether written or oral) with claimant
                                             for the services provided to support hotel operations. Marriott’s operation
                                             of the Hotel was conducted pursuant to the Hotel Management Agreement,
Congressional Hotel
                         41       4900.32    independently and not as an agent for, or representative of, the Debtor.
Dry Cleaning
                                             Thus, the claim, to the extent it is valid, enforceable and unpaid, is solely
                                             an obligation of Marriott, and remains so despite the termination of
                                             Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                             The claim should be disallowed as against the Debtor.
                                                                                                                              Case 21-10023-JTD




                                             Claims seeks payment for monthly service charges for computers for
                                             several months of 2020. The Debtor entered into no agreement (whether
                                             written or oral) with claimant for the goods and/or services provided to
                                             support hotel operations. Marriott’s operation of the Hotel was conducted
                                             pursuant to the Hotel Management Agreement, independently and not as an
                                                                                                                              Doc 329-2




Connect Computer         11       10668.00
                                             agent for, or representative of, the Debtor. Thus, the claim, to the extent it
                                             is valid, enforceable and unpaid, is solely an obligation of Marriott, and
                                             remains so despite the termination of Marriott as manager of the Hotel and
                                             the filing of the Chapter 11 Case. The claim should be disallowed as
                                             against the Debtor.
                                             Claim seeking payment of unspecified unsecured tax claim from 2017.
                                                                                                                              Filed 09/02/21




                                             Marriott’s operation of the Hotel was conducted pursuant to the Hotel
                                             Management Agreement, independently and not as an agent for, or
DC Gov’t Office of                           representative of, the Debtor. Thus, the claim, to the extent it is valid,
                         14       54981.35
Tax                                          enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                             despite the termination of Marriott as manager of the Hotel and the filing of
                                             the Chapter 11 Case. The claim should be disallowed as against the
                                                                                                                              Page 7 of 20




                                             Debtor.




                                                     2
                               Claim
Name of Claimant   Claim No.               Reason for Disallowance
                               Amount
                                           Claim seeks payment of membership fees, services to hotel – no dates
                                           (duplicate of claim 26 without invoices). The Debtor entered into no
                                           agreement (whether written or oral) with claimant for the services provided
                                           to support hotel operations. Marriott’s operation of the Hotel was
                                           conducted pursuant to the Hotel Management Agreement, independently
Destination DC        25       46972.00
                                           and not as an agent for, or representative of, the Debtor. Thus, the claim, to
                                           the extent it is valid, enforceable and unpaid, is solely an obligation of
                                           Marriott, and remains so despite the termination of Marriott as manager of
                                           the Hotel and the filing of the Chapter 11 Case. The claim should be
                                                                                                                            Case 21-10023-JTD




                                           disallowed as against the Debtor.
                                           Claim seeks payment of membership fees, services to – Mar., Jun. 2020.
                                           The Debtor entered into no agreement (whether written or oral) with
                                           claimant for the services provided to support hotel operations. Marriott’s
                                           operation of the Hotel was conducted pursuant to the Hotel Management
                                                                                                                            Doc 329-2




Destination DC        26       46972.00    Agreement, independently and not as an agent for, or representative of, the
                                           Debtor. Thus, the claim, to the extent it is valid, enforceable and unpaid, is
                                           solely an obligation of Marriott, and remains so despite the termination of
                                           Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                           The claim should be disallowed as against the Debtor.
                                           Claims seek payment for services provided to hotel, 2020. The Debtor
                                                                                                                            Filed 09/02/21




                                           entered into no agreement (whether written or oral) with claimant for the
                                           services provided to support hotel operations. Marriott’s operation of the
                                           Hotel was conducted pursuant to the Hotel Management Agreement,
Enseo                 38       181000.70   independently and not as an agent for, or representative of, the Debtor.
                                           Thus, the claim, to the extent it is valid, enforceable and unpaid, is solely
                                           an obligation of Marriott, and remains so despite the termination of
                                                                                                                            Page 8 of 20




                                           Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                           The claim should be disallowed as against the Debtor.




                                                   3
                                  Claim
Name of Claimant      Claim No.             Reason for Disallowance
                                  Amount
                                            Claim seeks payment for services provided to hotel, 2020. The Debtor
                                            entered into no agreement (whether written or oral) with claimant for the
                                            services provided to support hotel operations. Marriott’s operation of the
                                            Hotel was conducted pursuant to the Hotel Management Agreement,
FedEx                    43       5942.61   independently and not as an agent for, or representative of, the Debtor.
                                            Thus, the claim, to the extent it is valid, enforceable and unpaid, is solely
                                            an obligation of Marriott, and remains so despite the termination of
                                            Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                            The claim should be disallowed as against the Debtor.
                                                                                                                            Case 21-10023-JTD




                                            Claimant seeks payment for electrical work at hotel completed
                                            approximately Nov. 2019. The Debtor entered into no agreement (whether
                                            written or oral) with claimant for the services provided to support hotel
                                            operations. Marriott’s operation of the Hotel was conducted pursuant to
                                            the Hotel Management Agreement, independently and not as an agent for,
                                                                                                                            Doc 329-2




Haislip Corporation      8        2046.10
                                            or representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                            enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                            despite the termination of Marriott as manager of the Hotel and the filing of
                                            the Chapter 11 Case. The claim should be disallowed as against the
                                            Debtor.
                                            Claim for payment of amounts incurred for repair and maintenance of hotel
                                                                                                                            Filed 09/02/21




                                            security systems. The Debtor entered into no agreement (whether written
                                            or oral) with claimant for the services provided to support hotel operations.
                                            Marriott’s operation of the Hotel was conducted pursuant to the Hotel
Innovative Security                         Management Agreement, independently and not as an agent for, or
                         10       3269.75
Systems                                     representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                            enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                                                                                            Page 9 of 20




                                            despite the termination of Marriott as manager of the Hotel and the filing of
                                            the Chapter 11 Case. The claim should be disallowed as against the
                                            Debtor.



                                                    4
                                    Claim
Name of Claimant        Claim No.              Reason for Disallowance
                                    Amount
                                               Claim seeks payment under multiple invoices for computer equipment and
                                               service, 2019/2020. The Debtor entered into no agreement (whether
                                               written or oral) with claimant for the goods and/or services provided to
                                               support hotel operations. Marriott’s operation of the Hotel was conducted
                                               pursuant to the Hotel Management Agreement, independently and not as an
Insight Direct             12       15378.86
                                               agent for, or representative of, the Debtor. Thus, the claim, to the extent it
                                               is valid, enforceable and unpaid, is solely an obligation of Marriott, and
                                               remains so despite the termination of Marriott as manager of the Hotel and
                                               the filing of the Chapter 11 Case. The claim should be disallowed as
                                                                                                                                Case 21-10023-JTD




                                               against the Debtor.
                                               Claim for payment for goods sold to hotel in Mar. 2020. The Debtor
                                               entered into no agreement (whether written or oral) with claimant for the
                                               goods provided to support hotel operations. Marriott’s operation of the
                                               Hotel was conducted pursuant to the Hotel Management Agreement,
                                                                                                                                Doc 329-2




International Gourmet
                           9        1528.70    independently and not as an agent for, or representative of, the Debtor.
Foods
                                               Thus, the claim, to the extent it is valid, enforceable and unpaid, is solely
                                               an obligation of Marriott, and remains so despite the termination of
                                               Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                               The claim should be disallowed as against the Debtor.
                                               Claim seeking recovery pursuant to an agreement with Marriott to provide
                                                                                                                                Filed 09/02/21




                                               cancellation fee to future booking (reservation canceled in 2020). The
                                               Debtor entered into no agreement (whether written or oral) with claimant
                                               for the reservations described in the claim. Marriott’s operation of the
KUMC Research                                  Hotel was conducted pursuant to the Hotel Management Agreement,
                           27       77074.00
Institute                                      independently and not as an agent for, or representative of, the Debtor.
                                               Thus, the claim, to the extent it is valid, enforceable and unpaid, is solely
                                                                                                                                Page 10 of 20




                                               an obligation of Marriott, and remains so despite the termination of
                                               Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                               The claim should be disallowed as against the Debtor.



                                                       5
                                 Claim
Name of Claimant     Claim No.             Reason for Disallowance
                                 Amount
                                           Claim for payment for services to hotel, Mar. 2020. The Debtor entered
                                           into no agreement (whether written or oral) with claimant for the services
                                           provided to support hotel operations. Marriott’s operation of the Hotel was
                                           conducted pursuant to the Hotel Management Agreement, independently
New Life Solutions      23       5324.68   and not as an agent for, or representative of, the Debtor. Thus, the claim, to
                                           the extent it is valid, enforceable and unpaid, is solely an obligation of
                                           Marriott, and remains so despite the termination of Marriott as manager of
                                           the Hotel and the filing of the Chapter 11 Case. The claim should be
                                           disallowed as against the Debtor.
                                                                                                                            Case 21-10023-JTD




                                           Claim seeks payment for services provided to hotel, 2020. The Debtor
                                           entered into no agreement (whether written or oral) with claimant for the
                                           services provided to support hotel operations. Marriott’s operation of the
                                           Hotel was conducted pursuant to the Hotel Management Agreement,
Oracle                  37       233.21    independently and not as an agent for, or representative of, the Debtor.
                                                                                                                            Doc 329-2




                                           Thus, the claim, to the extent it is valid, enforceable and unpaid, is solely
                                           an obligation of Marriott, and remains so despite the termination of
                                           Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                           The claim should be disallowed as against the Debtor.
                                           Claim presents multiple invoices with Marriott in support of hotel
                                           operations during year 2020. The Debtor entered into no agreement
                                                                                                                            Filed 09/02/21




                                           (whether written or oral) with claimant for the services provided to support
                                           hotel operations. Marriott’s operation of the Hotel was conducted pursuant
Restaurant                                 to the Hotel Management Agreement, independently and not as an agent
                        1        5814.63
Technologies                               for, or representative of, the Debtor. Thus, the claim, to the extent it is
                                           valid, enforceable and unpaid, is solely an obligation of Marriott, and
                                           remains so despite the termination of Marriott as manager of the Hotel and
                                                                                                                            Page 11 of 20




                                           the filing of the Chapter 11 Case. The claim should be disallowed as
                                           against the Debtor.




                                                   6
                                  Claim
Name of Claimant      Claim No.              Reason for Disallowance
                                  Amount
                                             Claims seeks payment for elevator upgrade provided to Marriott as hotel
                                             operator, July 2020. The Debtor entered into no agreement (whether
                                             written or oral) with claimant for the services provided to support hotel
                                             operations. Marriott’s operation of the Hotel was conducted pursuant to
                                             the Hotel Management Agreement, independently and not as an agent for,
Schindler Elevator       40       71430.00
                                             or representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                             enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                             despite the termination of Marriott as manager of the Hotel and the filing of
                                             the Chapter 11 Case. The claim should be disallowed as against the
                                                                                                                             Case 21-10023-JTD




                                             Debtor.
                                             Claim seeks payment of invoice for materials Feb. 2020. The Debtor
                                             entered into no agreement (whether written or oral) with claimant for the
                                             services provided to support hotel operations. Marriott’s operation of the
                                             Hotel was conducted pursuant to the Hotel Management Agreement,
                                                                                                                             Doc 329-2




Smallwood Lock
                         15       306.37     independently and not as an agent for, or representative of, the Debtor.
Supply
                                             Thus, the claim, to the extent it is valid, enforceable and unpaid, is solely
                                             an obligation of Marriott, and remains so despite the termination of
                                             Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                             The claim should be disallowed as against the Debtor.
                                             Claims seeking payment for goods sold to hotel, Mar. 2020. The Debtor
                                                                                                                             Filed 09/02/21




                                             entered into no agreement (whether written or oral) with claimant for the
                                             goods provided to support hotel operations. Marriott’s operation of the
                                             Hotel was conducted pursuant to the Hotel Management Agreement,
Teddy’s Fresh Baked
                         21       1965.88    independently and not as an agent for, or representative of, the Debtor.
Pizza
                                             Thus, the claim, to the extent it is valid, enforceable and unpaid, is solely
                                             an obligation of Marriott, and remains so despite the termination of
                                                                                                                             Page 12 of 20




                                             Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                             The claim should be disallowed as against the Debtor.




                                                     7
                                Claim
Name of Claimant    Claim No.              Reason for Disallowance
                                Amount
                                           Claim presents unspecified storage fees/costs incurred during year 2020.
                                           The Debtor entered into no agreement (whether written or oral) with
                                           claimant for the storage costs provided to support hotel operations.
                                           Marriott’s operation of the Hotel was conducted pursuant to the Hotel
Titan Global                               Management Agreement, independently and not as an agent for, or
                       2        231.72
Distribution                               representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                           enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                           despite the termination of Marriott as manager of the Hotel and the filing of
                                           the Chapter 11 Case. The claim should be disallowed as against the
                                                                                                                            Case 21-10023-JTD




                                           Debtor.
                                           Claims seeks unspecified storage fees/cost incurred during year 2020. The
                                           Debtor entered into no agreement (whether written or oral) with claimant
                                           for the storage costs provided to support hotel operations. Marriott’s
                                           operation of the Hotel was conducted pursuant to the Hotel Management
                                                                                                                            Doc 329-2




Veteran’s Storage      5        19800.00   Agreement, independently and not as an agent for, or representative of, the
                                           Debtor. Thus, the claim, to the extent it is valid, enforceable and unpaid, is
                                           solely an obligation of Marriott, and remains so despite the termination of
                                           Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                           The claim should be disallowed as against the Debtor.
                                           Claim seeking payments pursuant to copier lease with Marriott during
                                                                                                                            Filed 09/02/21




                                           2020. The Debtor entered into no agreement (whether written or oral) with
                                           claimant for the lease provided to support hotel operations. Marriott’s
                                           operation of the Hotel was conducted pursuant to the Hotel Management
Xerox                  28       31880.44   Agreement, independently and not as an agent for, or representative of, the
                                           Debtor. Thus, the claim, to the extent it is valid, enforceable and unpaid, is
                                           solely an obligation of Marriott, and remains so despite the termination of
                                                                                                                            Page 13 of 20




                                           Marriott as manager of the Hotel and the filing of the Chapter 11 Case.
                                           The claim should be disallowed as against the Debtor.




                                                   8
Case 21-10023-JTD   Doc 329-2   Filed 09/02/21   Page 14 of 20




                      SCHEDULE 2

                    Reservation Claims




                            1
                                  Claim
 Name of Claimant     Claim No.              Reason for Disallowance
                                  Amount


                                             Claimant seeks return of deposit paid to Marriott for cancelled reservation.
                                             The Debtor entered into no agreement (whether written or oral) with
                                             claimant for the reservations described in the claim. Any deposit provided
                                             by the agreement was provided solely to Marriott, and Marriott has neither
                                             shared nor provided an accounting of such deposits to the Debtor.
Aero Club of                                 Marriott’s operation of the Hotel was conducted pursuant to the Hotel
                      18          22750.00
Washington                                   Management Agreement, independently and not as an agent for, or
                                                                                                                             Case 21-10023-JTD




                                             representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                             enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                             despite the termination of Marriott as manager of the Hotel and the filing of
                                             the Chapter 11 Case. The claim should be disallowed as against the
                                             Debtor.
                                                                                                                             Doc 329-2




                                             Claim seeks payment of liquidated damages for canceled reservation for
                                             year 2027. The Debtor entered into no agreement (whether written or oral)
                                             with claimant for the reservations described in the claim. Any deposit
                                             provided by the agreement was provided solely to Marriott, and Marriott
                                             has neither shared nor provided an accounting of such deposits to the
American Historical                          Debtor. Marriott’s operation of the Hotel was conducted pursuant to the
                                                                                                                             Filed 09/02/21




                      22          58960.00
Assoc.                                       Hotel Management Agreement, independently and not as an agent for, or
                                             representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                             enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                             despite the termination of Marriott as manager of the Hotel and the filing of
                                             the Chapter 11 Case. The claim should be disallowed as against the
                                             Debtor.
                                                                                                                             Page 15 of 20




                                                      1
                                         Claim
   Name of Claimant          Claim No.               Reason for Disallowance
                                         Amount
                                                     Claimant seeks return of deposit paid to Marriott for cancelled reservation.
                                                     The Debtor entered into no agreement (whether written or oral) with
                                                     claimant for the reservations described in the claim. Any deposit provided
                                                     by the agreement was provided solely to Marriott, and Marriott has neither
                                                     shared nor provided an accounting of such deposits to the Debtor.
 American Physical                                   Marriott’s operation of the Hotel was conducted pursuant to the Hotel
                             16          5000.00
 Society                                             Management Agreement, independently and not as an agent for, or
                                                     representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                     enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                                                                                                     Case 21-10023-JTD




                                                     despite the termination of Marriott as manager of the Hotel and the filing of
                                                     the Chapter 11 Case. The claim should be disallowed as against the
                                                     Debtor.
                                                     Claim seeks payment of liquidated damages for canceled reservation for
                                                     year 2023. The Debtor entered into no agreement (whether written or oral)
                                                                                                                                     Doc 329-2




                                                     with claimant for the reservations described in the claim. Any deposit
                                                     provided by the agreement was provided solely to Marriott, and Marriott
                                                     has neither shared nor provided an accounting of such deposits to the
 American Roentgen                                   Debtor. Marriott’s operation of the Hotel was conducted pursuant to the
                             13          665523.00
 Ray Society                                         Hotel Management Agreement, independently and not as an agent for, or
                                                     representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                                                                                                     Filed 09/02/21




                                                     enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                     despite the termination of Marriott as manager of the Hotel and the filing of
                                                     the Chapter 11 Case. The claim should be disallowed as against the
                                                     Debtor.
                                                                                                                                     Page 16 of 20




DOCS_LA:339636.4 92203/001
                                         Claim
   Name of Claimant          Claim No.             Reason for Disallowance
                                         Amount
                                                   Claimant seeks return of deposit paid to Marriott for cancelled reservation.
                                                   The Debtor entered into no agreement (whether written or oral) with
                                                   claimant for the reservations described in the claim. Any deposit provided
                                                   by the agreement was provided solely to Marriott, and Marriott has neither
                                                   shared nor provided an accounting of such deposits to the Debtor.
 Belfast-Beltway                                   Marriott’s operation of the Hotel was conducted pursuant to the Hotel
                             32          1600.00
 Boxing Project                                    Management Agreement, independently and not as an agent for, or
                                                   representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                   enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                                                                                                   Case 21-10023-JTD




                                                   despite the termination of Marriott as manager of the Hotel and the filing of
                                                   the Chapter 11 Case. The claim should be disallowed as against the
                                                   Debtor.
                                                   Claimant seeks return of deposit paid to Marriott for cancelled reservation.
                                                   The Debtor entered into no agreement (whether written or oral) with
                                                                                                                                   Doc 329-2




                                                   claimant for the reservations described in the claim. Any deposit provided
                                                   by the agreement was provided solely to Marriott, and Marriott has neither
                                                   shared nor provided an accounting of such deposits to the Debtor.
 Belfast-Beltway                                   Marriott’s operation of the Hotel was conducted pursuant to the Hotel
                             33          1600.00
 Boxing Project                                    Management Agreement, independently and not as an agent for, or
                                                   representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                                                                                                   Filed 09/02/21




                                                   enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                   despite the termination of Marriott as manager of the Hotel and the filing of
                                                   the Chapter 11 Case. The claim should be disallowed as against the
                                                   Debtor.
                                                                                                                                   Page 17 of 20




DOCS_LA:339636.4 92203/001
                                         Claim
   Name of Claimant          Claim No.             Reason for Disallowance
                                         Amount
                                                   Claimant seeks return of deposit paid to Marriott for cancelled reservation.
                                                   The Debtor entered into no agreement (whether written or oral) with
                                                   claimant for the reservations described in the claim. Any deposit provided
                                                   by the agreement was provided solely to Marriott, and Marriott has neither
                                                   shared nor provided an accounting of such deposits to the Debtor.
 Belfast-Beltway                                   Marriott’s operation of the Hotel was conducted pursuant to the Hotel
                             34          1600.00
 Boxing Project                                    Management Agreement, independently and not as an agent for, or
                                                   representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                   enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                                                                                                   Case 21-10023-JTD




                                                   despite the termination of Marriott as manager of the Hotel and the filing of
                                                   the Chapter 11 Case. The claim should be disallowed as against the
                                                   Debtor.
                                                   Claimant seeks return of deposit paid to Marriott for cancelled reservation.
                                                   The Debtor entered into no agreement (whether written or oral) with
                                                                                                                                   Doc 329-2




                                                   claimant for the reservations described in the claim. Any deposit provided
                                                   by the agreement was provided solely to Marriott, and Marriott has neither
                                                   shared nor provided an accounting of such deposits to the Debtor.
 Belfast-Beltway                                   Marriott’s operation of the Hotel was conducted pursuant to the Hotel
                             35          1600.00
 Boxing Project                                    Management Agreement, independently and not as an agent for, or
                                                   representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                                                                                                   Filed 09/02/21




                                                   enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                   despite the termination of Marriott as manager of the Hotel and the filing of
                                                   the Chapter 11 Case. The claim should be disallowed as against the
                                                   Debtor.
                                                                                                                                   Page 18 of 20




DOCS_LA:339636.4 92203/001
                                         Claim
   Name of Claimant          Claim No.                  Reason for Disallowance
                                         Amount
                                                        Claimant seeks return of deposit paid to Marriott for cancelled reservation.
                                                        The Debtor entered into no agreement (whether written or oral) with
                                                        claimant for the reservations described in the claim. Any deposit provided
                                                        by the agreement was provided solely to Marriott, and Marriott has neither
                                                        shared nor provided an accounting of such deposits to the Debtor.
 Belfast-Beltway                                        Marriott’s operation of the Hotel was conducted pursuant to the Hotel
                             36          1600.00
 Boxing Project                                         Management Agreement, independently and not as an agent for, or
                                                        representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                        enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                                                                                                        Case 21-10023-JTD




                                                        despite the termination of Marriott as manager of the Hotel and the filing of
                                                        the Chapter 11 Case. The claim should be disallowed as against the
                                                        Debtor.
                                                      Claim seeks payment of liquidated damages for canceled reservation for
                                                      year 2024. The Debtor entered into no agreement (whether written or oral)
                                                                                                                                        Doc 329-2




                                                      with claimant for the reservations described in the claim. Any deposit
                                                      provided by the agreement was provided solely to Marriott, and Marriott
                                                      has neither shared nor provided an accounting of such deposits to the
 Extracorporeal Life                                  Debtor. Marriott’s operation of the Hotel was conducted pursuant to the
                             39          undetermined
 Support Organization                                 Hotel Management Agreement, independently and not as an agent for, or
                                                      representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                                                                                                        Filed 09/02/21




                                                      enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                      despite the termination of Marriott as manager of the Hotel and the filing of
                                                      the Chapter 11 Case. The claim should be disallowed as against the
                                                      Debtor.
                                                                                                                                        Page 19 of 20




DOCS_LA:339636.4 92203/001
                                         Claim
   Name of Claimant          Claim No.              Reason for Disallowance
                                         Amount
                                                    Claimant seeks return of deposit paid to Marriott for cancelled reservation.
                                                    The Debtor entered into no agreement (whether written or oral) with
                                                    claimant for the reservations described in the claim. Any deposit provided
                                                    by the agreement was provided solely to Marriott, and Marriott has neither
                                                    shared nor provided an accounting of such deposits to the Debtor.
 Institute for
                                                    Marriott’s operation of the Hotel was conducted pursuant to the Hotel
 Educational                 31          20000.00
                                                    Management Agreement, independently and not as an agent for, or
 Leadership
                                                    representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                    enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                                                                                                    Case 21-10023-JTD




                                                    despite the termination of Marriott as manager of the Hotel and the filing of
                                                    the Chapter 11 Case. The claim should be disallowed as against the
                                                    Debtor.
                                                    Claimant seeks return of deposit paid to Marriott for cancelled reservation.
                                                    The Debtor entered into no agreement (whether written or oral) with
                                                                                                                                    Doc 329-2




                                                    claimant for the reservations described in the claim. Any deposit provided
                                                    by the agreement was provided solely to Marriott, and Marriott has neither
                                                    shared nor provided an accounting of such deposits to the Debtor.
 Mathematical
                                                    Marriott’s operation of the Hotel was conducted pursuant to the Hotel
 Association of              17          13000.00
                                                    Management Agreement, independently and not as an agent for, or
 America
                                                    representative of, the Debtor. Thus, the claim, to the extent it is valid,
                                                                                                                                    Filed 09/02/21




                                                    enforceable and unpaid, is solely an obligation of Marriott, and remains so
                                                    despite the termination of Marriott as manager of the Hotel and the filing of
                                                    the Chapter 11 Case. The claim should be disallowed as against the
                                                    Debtor.
                                                                                                                                    Page 20 of 20




DOCS_LA:339636.4 92203/001
